    Case 25-01384-jd       Doc 72      Filed 06/04/25 Entered 06/04/25 10:36:50                   Desc Main
                                       Document      Page 1 of 4



                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA

     IN RE:                                                            Case 25-01384-JD


     Jacqueline Elizabeth Ard                                 CHAPTER 13 TRUSTEE’S
     Terry Frank Nicola                                   OBJECTION TO CONFIRMATION OF
                                                                      PLAN
                                          Debtors.
                                                                            Chapter 13

        The Chapter 13 Trustee hereby objects to the Debtors’ Plan, filed May 8, 2025, and to
any other subsequently filed plan which does not meet the standards as indicated below. The
Trustee objects to the plan as it does not meet all of the requirements of 11 U.S.C. §§1322 and
1325. 1

    1. Feasibility: Step payments proposed to the Trustee fluctuate for the first year, beginning in
       May in the amount of $4,540.32, with an increase in July 2025 to $8,540.32 per month, then
       $6,540.32 beginning in October 2025, then $8,540.32 beginning in March 2026, then
       $10,540.32 in June 2026 (month 14 of the Plan term). Debtors’ net business income on
       Schedule I is listed as $13,429.01 per month, but their net business income during the six (6)
       month period before filing, is reported on the Statement of Current Monthly Income as
       about 10% of that amount, or $1,385.94. No explanation for the significant anticipated
       increase has been provided. Trustee is unable to determine from the information filed with
       the Court whether the Debtors can meet their burden of proof that they "will be able to make
       all payments under the plan and to comply with the plan" as required by §1325(a)(6).

    2. The Trustee is unable to determine whether the funding of the plan at Part 2.1 is adequate,
       because he is unable to interpret the proposed treatment to creditors in the Plan, as follows:

       (a) Debtors have provided no treatment for the secured claims of the following creditors
           listed on Schedule D: Polly Nicola, The Spa on Port Royal Sound, and Hilton Head
           Resort. For this reason, the Plan does not appear to meet the requirements of
           §1325(a)(5).

       (b) None of the proposed treatments to creditors propose to pay the Till interest rate of 9% 2
           as established by the Court.

       (c) The proposed treatments for all secured creditors indicate the payment amounts as "pro
           rata" which does not meet the requirements of §1325(a)(5)(B)(iii)(I).

       (d) Part 3.1: Several creditors (county water/ taxes/ tax service) are listed in the schedules
           as holding priority unsecured claims, but treated in the plan at #3.1 as secured. Further
           the treatment indicates no default, with Debtor paying directly, but schedules E/F

1
 Further references to the bankruptcy code will be by code section only.
2
 SC Local Bankruptcy Rule 3015-6, See, Interest Rate in Chapter 13 Cases, United States Bankruptcy Court for the
District of South Carolina (July 24, 2024), https://www.scb.uscourts.gov/news/interest-rate-chapter-13-cases-1.
Case 25-01384-jd      Doc 72     Filed 06/04/25 Entered 06/04/25 10:36:50             Desc Main
                                 Document      Page 2 of 4



      indicate debt owed. It is unclear whether the budget provides for these creditors
      because none are named on Schedules I and J as filed. Further, this treatment conflicts
      with the treatment in Part 4.1, which provides for payment in full in the plan for all
      priority claims, and which is required pursuant to §1322(a)(2).

   (e) Parts 3.1(b), 3.2 and 3.3: The treatment to creditors is unclear, incomplete, internally
       inconsistent, or inconsistent with the Schedules. Specifically:

       (1) In Part 3.1(b), to West-Aircomm FCU (“West-Aircomm”), Westlake Financial
           (“Westlake”) and Norman Jewelry and Loan (“Norman”), the plan indicates that the
           Debtors will maintain contractual payments, and the Trustee will cure arrears. The
           terms do not state the date through which the Trustee is to cure the arrears, to
           establish when the Debtors will resume payments. The treatment to Norman is
           incomplete.

       (2) In Part 3.2, the treatment to Westlake conflicts with the treatment in #3.1(b), as it
           proposes that only the Trustee will pay the claim, and only the value of the secured
           claim, with the balance paid as unsecured.

       (3) In Part 3.3, the treatment to West-Aircomm conflicts with the treatment in #3.1(b),
           as it proposes that only the Trustee will pay the claim. The eight (8) treatments
           for Zeidmans are incomplete.

       (4) In Part 3.3, the treatment to SC Department of Revenue as secured conflicts with the
           Schedules which lists the claim as priority, but in the amount of $0.00.

   (f) Part 3.4: Title Max has objected to the treatment of its claim.

   (g) Parts 5.2 and 5.3: Trustee objects to the separate treatment of any unsecured claims
       without specific information in the plan that meets the requirements of §1322(b)(1) to
       show that the separate class does not unfairly discriminate as to the other creditors in the
       class of general unsecured claims. Debtors seek to separately classify 42 of the general
       unsecured claims, leaving all but 13 treated under Part 5.1. The Trustee is unable to
       determine the intended treatment of claims because the information is incomplete.

      (1) In Part 5.2, Debtors propose to pay certain claims, listing the payment as “Pro-Rata”
          – no budget containing these debts has been filed, and the meaning of that phrase is
          unclear in this context.

      (2) In Part 5.3 the Debtors do not propose whether the claims will be paid by the debtors
          or trustee, and the "basis for separate classification and treatment" is "Other".

   (h) Part 8.1: The treatment for NationStar as conduit is incomplete as the terms do not
       provide a payment amount for the Gap and prepetition arrears.
    Case 25-01384-jd         Doc 72       Filed 06/04/25 Entered 06/04/25 10:36:50             Desc Main
                                          Document      Page 3 of 4



    3. The Trustee is unable to fully review the financial position of the Debtors:

       a. No evidence of income has been filed with the Court to date. Schedule I specifically
          requires that the Debtors “Attach a statement for each property and business showing
          gross receipts, ordinary and necessary business expenses, and the total monthly net
          income” (emphasis added) relating to the income from business. The information filed
          is incomplete.

       b. Schedules A/B 3 do not appear to accurately provide the values of the Debtors’ interests
          in property. All of the real property in Part 1 is listed as owned by "at least one of the
          debtors and another" but without indicating who the non-debtor owner might be, or what
          share of the assets is owned by the Debtors, but all list that the “Current value of the
          portion you own” is only 50% of the stated value of the asset. Similarly, a significant
          amount of the personal property is listed with values 4 that are 50% of the stated
          calculations of values in the descriptions of the assets. As to the real property, the
          county databases to which the Trustee has access appear to show that the property is
          only titled in either Ard or Ard and Nicola, but no other persons.

       c. Many of the exemptions claimed on Schedule C 5 cite a code section that Trustee is
          informed and believes relates only to property held by partnerships, but Debtors list no
          partnership interests in Schedules A/B #19 and 42, only LLCs in #19.

       d. No tax returns for Mrs. Ard have been provided to the Trustee. Only 2021 tax returns
          for Mr. Nicola have been provided. The Debtors are not yet in compliance with
          §1308(a), and unless they can provide evidence that all tax returns have been filed for all
          taxable periods ending during the 4-year period ending on the date of the petition,
          Trustee objects, pursuant to §1325(a)(9).

       NOW, THEREFORE, Trustee asks that confirmation of the plan be denied, that no
request for additional time to file a confirmable plan be granted, and that the case dismissed or
converted, at the Court’s discretion.


This day, June 4, 2025
                                                        /s/ James Wyman
                                                        James Wyman, Trustee Dist Ct ID 5552
                                                        Beth Renno, Staff Attorney Dist Ct ID 5627
                                                        Office of the Chapter 13 Trustee
                                                        P.O. Box 997
                                                        Mt. Pleasant, SC 29465-0997
                                                        Tel. (843) 388-9844
                                                        13office@charleston13.com




3
  ECF No 23
4
  listed on the continuation pages, starting at page 15 of 48
5
  ECF No 23
Case 25-01384-jd         Doc 72   Filed 06/04/25 Entered 06/04/25 10:36:50             Desc Main
                                  Document      Page 4 of 4



  IN RE:                                                         Case 25-01384-JD

  Jacqueline Elizabeth Ard                              CERTIFICATE OF SERVICE
  Terry Frank Nicola                                   OF CHAPTER 13 TRUSTEE’S
                                                  OBJECTION TO CONFIRMATION OF PLAN
                                     Debtors.
                                                                     Chapter 13



I hereby certify that I have served the foregoing via U.S. Mail, postage attached, to the
following:

 Jacqueline Elizabeth Ard                          Terry Frank Nicola
 21215 Dartmouth Dr                                21215 Dartmouth Dr
 Southfield MI 48076                               Southfield MI 48076


This day, June 4, 2025                               /s/ Beth Renno
                                                     Beth Renno
                                                     Office of the Chapter 13 Trustee
